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                                   EXHIBIT 3
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September 14, 2020

Under Sec. 2.(d)(i), In regards to the U.S. Presidential E.O. Issued on: August 14, 2020
Under section 721 of the Defense Production Act of 1950, as amended (section 721), 50 U.S.C. 4565 Order
Regarding the Acquisition of Musical.ly by ByteDance Ltd

Following up regarding September 9, 2020 notice1

Which promised per Sec.2 ( e ) to “provide specific details of the TikTok Global Network Inc. transaction if still
applicable under”

 Seller and Buyer are providing proposed sale details7 to confirm and allow for objections per Sec 2d(ii) to be
raised regarding if the sale effectuates, to CFIUS’s satisfaction and in its discretion, a complete divestment of all
tangible or intangible assets or property, wherever located, used to enable or support the operation of the TikTok
application in the United States. In fact, the attached asset acquisition agreement is signed already by Buyer and
fully executable therefore, Seller has as of today a bona fide transaction which becomes binding on both parties
and provides for “complete divestment”, subject only to review and approval by CFIUS.

Seller and Buyer have the ability per their agreement structure to modify the arrangement’s inclusion or exclusion
of “tangible or intangible assets or property” (please see Exhibit 1.1 of such asset acquisition agreement) prior to
the closing of the agreement and will consider and attempt to modify the agreement to allow for any CFIUS
recommendations or to be responsive to any objections. 

Parties will wait to confirm there is No CFIUS objection under 2(ii) and asks CFIUS to consider and also provide
objections prior to September 20, 2020 if per Section 2(ii) the agreement’s divestment fails to “effectuate” any
elements or covenants necessary, and if objections exist, to please provide details of the specific issues so that
Seller and Buyer have the opportunity to take corrective action and revise the agreement to conform and meet
CFIUS requirements for a structure that does “effectuate” the divestment properly.

Regards




Brad Greenspan

President/CEO, TikTok GlobalNetwork Inc

244 Fifth Avenue, Suite #g290, New York, NY 10001

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